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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL                   :   CIVIL ACTION NO. 1:19-CV-622
FOUNDATION,                                 :
                                            :   (Judge Conner)
                    Plaintiff               :
                                            :
              v.                            :
                                            :
ALBERT SCHMIDT, Acting                      :
Secretary of the Commonwealth               :
of Pennsylvania, 1 and JONATHAN             :
M. MARKS, Deputy Secretary for              :
Elections and Commissions,                  :
                                            :
                    Defendants              :

                                        ORDER

      AND NOW, this 27th day of February, 2023, upon consideration of the motion

(Doc. 88) for clarification and partial reconsideration filed by defendants Albert

Schmidt, Acting Secretary of the Commonwealth of Pennsylvania, and Jonathan M.

Marks, Deputy Secretary for Elections and Commissions (collectively the

“Commonwealth”), wherein the Commonwealth seeks clarification regarding its

disclosure obligations under our memorandum and order dated March 31, 2022, as

well as reconsideration of our conclusion as to applicability of the work-product

doctrine, (see Doc. 89 at 1-2), 2 and the court noting preliminarily the matter sub


      1
      Pursuant to Federal Rule of Civil Procedure 25(d), Acting Secretary
Schmidt is automatically substituted as a defendant for former Secretary Leigh M.
Chapman. See FED. R. CIV. P. 25(d).
      2
         The Commonwealth protectively filed a second motion, styled as a motion
to alter or amend judgment pursuant to Federal Rule of Civil Procedure 59(e), (see
Doc. 91), in answer to plaintiff’s challenge to the stylization of the first motion. The
motions raise the same arguments, and we will consider them together.
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judice concerns the Commonwealth’s duty to disclose certain voting records under

Section 20507(i)(1) of the National Voter Registration Act (“NVRA”), 52 U.S.C.

§ 20507(i)(1), in response to requests from plaintiff Public Interest Legal Foundation

(“PILF”), and further noting the purpose of a motion for clarification is “to explain

or clarify something ambiguous or vague about a court’s decision, not to alter or

amend it,” see Air & Liquid Sys. Corp. v. Allianz Underwriters Ins. Co., No. 11-247,

2014 WL 4060309, at *14 (W.D. Pa. Aug. 15, 2014) (citation omitted); see also Ebert

v. Township of Hamilton, No. 15-7331, 2018 WL 4961467, at *2 (D.N.J. Oct. 15, 2018)

(citation omitted), and motions to alter or amend judgment under Rule 59(e) must

rely on at least one of the following three grounds: “(1) an intervening change in

controlling law; (2) the availability of new evidence; or (3) the need to correct clear

error of law or prevent manifest injustice,” Wiest v. Lynch, 710 F.3d 121, 128 (3d Cir.

2013) (quoting Lazaridis v. Wehmer, 591 F.3d 666, 669 (3d Cir. 2010)), and, taking the

Commonwealth’s concerns seriatim, 3 first, the court observing the Commonwealth

seeks clarification or reconsideration as to footnote eleven of our memorandum,

(see Doc. 89 at 7-10; Doc. 92 at 4-8), which states, in relevant part, that our holding

regarding applicability of the work-product doctrine to a particular class of records

“should not be construed as stating the work-product doctrine applies to . . . records

used by the expert to conduct their analysis,” (see Doc. 83 at 19-20 & n.11), and the

Commonwealth argues the court erred by “concluding that the compilation of



      3
       The parties have reached an agreement mooting the Commonwealth’s
request for clarification regarding “the SURE database.” (See Doc. 92 at 11 n.6;
Doc. 122 at 8). We therefore need not address that issue herein.


                                            2
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records used by a consulting expert are required to be disclosed,” (see Doc. 92 at 7),

and the court finding the Commonwealth has not identified clear error of law or

risk of manifest injustice as to footnote eleven but agreeing to offer clarification in

light of the Commonwealth’s expressed confusion; 4 second, the court observing the

Commonwealth seeks clarification regarding whether it must disclose names and

addresses of individuals to whom it sent letters regarding their possible status as

noncitizen voters 5 and, if it must disclose such information, the scope of permissible

redactions, (see Doc. 89 at 3-5 & n.2; Doc. 92 at 8-11), and further observing names

and addresses of letter recipients fall within the scope of what must be disclosed

under Section 20507(i)(1) as the information relates to “ensuring the accuracy and


      4
        The Commonwealth misreads footnote eleven to require it to disclose to
PILF a compilation of all materials reviewed by its expert. (See Doc. 89 at 7-9; Doc.
92 at 4-8; Doc. 122 at 8-9). Our footnote includes no such requirement, and we do
not understand PILF to seek disclosure of any such compilation. (See Doc. 83 at 20
n.11; Doc. 120 at 6-8). The intention of our footnote was to make clear that records
otherwise subject to disclosure do not receive work-product protection merely
because the expert viewed them. That is, records created specifically for the expert
to review are protected by the work-product doctrine, (see Doc. 83 at 18-20), but the
work-product doctrine does not protect records otherwise subject to disclosure
created in the ordinary course of business or for purposes other than litigation, see
United States v. Rockwell Int’l, 897 F.2d 1255, 1266 (3d Cir. 1990) (citations omitted);
(see also Doc. 122 at 14 (disclaiming the Commonwealth has any desire to withhold
“otherwise discoverable information . . . simply because it was provided to a
consulting expert”). To be clear: footnote eleven does not require the
Commonwealth to disclose “the compendium of records that outside counsel
confidentially provided to the consulting expert,” (see Doc. 122 at 8); it merely
explains records otherwise subject to disclosure are not exempted from the order
merely because the expert laid eyes on them.
      5
       We note PILF originally sought the letters sent to said individuals, but the
Commonwealth represents the letters exist only as templates sent using a mail-
merge process; the Commonwealth therefore offers to disclose a “list of recipient
names and addresses” in lieu of the individualized letters. (See Doc. 89 at 4 n.2).



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currency of official lists of eligible voters,” see 52 U.S.C. § 20507(i)(1), and the

Commonwealth correctly reads footnote seven to authorize redaction of said

disclosures to protect certain personal information, (see Doc. 89 at 3 (citing Doc. 83

at 15 n. 7); Doc. 92 at 8-9 (same)), and the court finding the Commonwealth has not

identified clear error of law or risk of manifest injustice concerning footnote seven,

but clarification is necessary because the Commonwealth overreads the breadth of

permissible redactions; 6 and lastly, the court observing the Commonwealth seeks a

declaration “that the completed cancelation forms are not proof of non-citizenship,”



       6
         Footnote seven authorizes the Commonwealth to redact certain information
from its disclosures to address privacy concerns. (See Doc. 83 at 15 n.7). Namely,
we adopted the redaction scheme employed by the Court of Appeals for the Fourth
Circuit in a similar case, (see id. (citing Pub. Int. Legal Found., Inc. v. N.C. State Bd.
of Elections, 996 F.3d 257, 267 (4th Cir. 2021))), in which the court authorized the
North Carolina Board of Elections to redact from voting records disclosed under
the NVRA “(1) Social Security numbers, (2) ‘identities and personal information of
those subject to criminal investigations,’ and (3) personal information of citizens
initially identified as potentially failing to meet the citizenship requirement for
voter registration but ultimately exonerated.” N.C. State Bd. of Elections, 996 F.3d
at 267). The Commonwealth now suggests footnote seven authorizes redaction of
“names, addresses, and other personal information of persons who received the
letters and who either affirmed their eligibility to vote or were not confirmed to be
noncitizens” from the list of recipients. (See Doc. 89 at 3-5; Doc. 92 at 8-10). This
reading is overbroad. The Commonwealth may redact names and addresses of
potential noncitizen registrants who affirmed their eligibility to vote. As the Fourth
Circuit noted, these individuals could face “long-standing personal and professional
repercussions” by being wrongly associated with noncitizen voting. See N.C. State
Bd. of Elections, 996 F.3d at 267. However, names and addresses of individuals who
responded to the letter by cancelling their voter registration, or who failed to reply
to the letter or have not been confirmed to be citizens, must be disclosed. Neither
category of individuals was “exonerated.” See id. We recognize such disclosures
affect the privacy of these individuals, but Congress prioritized transparency over
privacy in crafting the NVRA’s broad disclosure requirements. (See Doc. 83 at 14-
15 (citing Project Vote/Voting for Am., Inc. v. Long, 682 F.3d 331, 339 (4th Cir.
2012))).



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(see Doc. 89 at 5; Doc. 92 at 11), and the court finding the request is not properly

before the court, see Arizona v. City of Tucson, 761 F.3d 1005, 1010 (9th Cir. 2014)

(“[R]equests for declaratory judgment are not properly before the court if raised

only in passing, or by motion.” (citation omitted)); Hubay v. Mendez, 500 F. Supp.

3d 438, 443 n.2 (W.D. Pa. 2020) (citation omitted), and the court concluding the

Commonwealth has not identified any clear error or risk of manifest injustice

meriting reconsideration under Rule 59(e), but that the clarifications provided

supra are appropriate under the circumstances, 7 it is hereby ORDERED that:




      7
         PILF files a show-cause motion (Doc. 121) averring that the Commonwealth
failed to timely disclose certain “supplemental information” and requesting that the
court sanction the Commonwealth under Federal Rule of Civil Procedure 11(c)(2).
(See Doc. 121 at 1-3). The Commission, in turn, moves to strike PILF’s motion, inter
alia, for failing to comply with the notice requirement of Rule 11(c)(2). (See Doc.
124 at 1-2). Despite being styled as a “motion to show cause,” the first sentence of
PILF’s motion announces PILF “moves the court to impose sanctions [on the
Commonwealth],” (see Doc. 121 at 1), and, accordingly, we construe the motion as
one for sanctions under Rule 11. PILF admits it did not comply with Rule 11’s safe-
harbor provision. See Hampton v. Wetzel, No. 1:14-CV-1367, 2017 WL 895568, at *2
(M.D. Pa. Mar. 7, 2017) (Conner, C.J.). It raises two arguments in defense of this
failure, the first of which we have already rejected, viz., its claim this is not a
“sanctions” motion at all. PILF also broadly contends that giving notice to the
Commonwealth would have been futile. (See Doc. 126 at 1-5). But there is nothing
in the record to support this contention. To the contrary, PILF acknowledges that
the Commonwealth turned over the supplemental information, at least in part,
mere hours after PILF filed its motion. (See id. at 3). Assuming arguendo that
PILF’s motion satisfied Rule 11(c)(2), we would nevertheless exercise our discretion
to deny the motion due to the lack of any indication the Commonwealth acted
unreasonably. Hence, we will deny the motion for sanctions. See Schaefer Salt, 542
F.3d at 99 (“If the twenty-one day period is not provided, the motion must be
denied.”).


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1.   The Commonwealth’s motion (Doc. 88) for clarification and partial
     reconsideration is GRANTED to the extent that clarification has been
     provided herein. The motion is otherwise DENIED.

2.   The Commonwealth’s motion (Doc. 91) to amend or alter judgment is
     DENIED.

3.   PILF’s motion (Doc. 121) is CONSTRUED as a motion for sanctions
     under Federal Rule of Civil Procedure 11 and is DENIED as so
     construed.

4.   The Commonwealth’s motion (Doc. 123) to strike PILF’s motion (Doc.
     121) for sanctions is DENIED as moot.



                              /S/ CHRISTOPHER C. CONNER
                              Christopher C. Conner
                              United States District Judge
                              Middle District of Pennsylvania
